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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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MICHAEL LANNING and MARCIA FRANCIS, on' my
behalf of themselves and similarly situated employees:

  
 

cn, COT 1 5 2020
Plaintiffs, : ORDER
-against- : 20 Civ. 2055 (GBD)
WELLS FARGO BANK, N.A.,

Defendant.

GEORGE B. DANIELS, United States District Judge:
Defendant’s motion to dismiss dated May 11, 2020, (ECF No. 8), is DENIED as moot,

because Plaintiffs subsequently filed an amended complaint, (ECF No. 15), to which Defendant

has filed an answer.

Dated: New York, New York
October 15, 2020
SO ORDERED.

Lj b Dawe

GEPR B. DANIELS
nited States District Judge

 

 

 
